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 6                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEVADA
 7

 8   SECURITIES AND EXCHANGE                     Case No.: 2:22-cv-00612-JCM-EJY
     COMMISSION,
 9
                 Plaintiff,                      [PROPOSED] ORDER ENTERING
10        vs.                                    PRELIMINARY INJUNCTION,
                                                 ASSET FREEZE, AND OTHER
11   MATTHEW WADE BEASLEY; BEASLEY               EQUITABLE RELIEF
     LAW GROUP PC; JEFFREY J. JUDD;
12
     CHRISTOPHER R. HUMPHRIES; J&J
13
     CONSULTING SERVICES, INC., an Alaska
     Corporation; J&J CONSULTING SERVICES,
14   INC., a Nevada Corporation; J AND J
     PURCHASING LLC; SHANE M. JAGER;
15   JASON M. JONGEWARD; DENNY
     SEYBERT; and ROLAND TANNER;
16
                 Defendants;
17
     THE JUDD IRREVOCABLE TRUST; PAJ
18   CONSULTING INC; BJ HOLDINGS LLC;
     STIRLING CONSULTING, L.L.C.; CJ
19   INVESTMENTS, LLC; JL2 INVESTMENTS,
     LLC; ROCKING HORSE PROPERTIES,
20   LLC; TRIPLE THREAT BASKETBALL,
     LLC; ACAC LLC; ANTHONY MICHAEL
21
     ALBERTO, JR.; and MONTY CREW LLC;
22
                Relief Defendants.
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 1          Having considered Plaintiff Securities and Exchange Commission’s Ex Parte Application
 2   for Temporary Restraining Order and Orders (1) Freezing Assets; (2) Requiring Accountings; (3)
 3   Prohibiting the Destruction of Documents; and (5) to Show Cause Re Preliminary Injunction (the
 4   “TRO Application”), as well as the Commission’s Complaint, the Commission’s memorandum
 5   of points and authorities, the Commission’s supplemental memorandum of points and authorities
 6   in support of preliminary injunctive relief, and accompanying evidentiary materials, and the
 7   evidence and argument presented on April 21, 2022, the Court finds that the Commission has
 8   made a proper prima facie showing that: (i) Defendants Matthew W. Beasley; Beasley Law
 9   Group PC; Jeffrey J. Judd; Christopher R. Humphries; J&J Consulting Services, Inc., an Alaska
10   Corporation; J&J Consulting Services, Inc., a Nevada Corporation; J and J Purchasing LLC;
11   Shane M. Jager; Jason Jongeward; Denny Seybert; and Roland Tanner (together herein,
12   “Defendants”) directly and indirectly engaged in the violations alleged in the Complaint; (ii)
13   there is a reasonable likelihood that these violations will be repeated; (iii) unless restrained and
14   enjoined by the Court, Defendants and Relief Defendants The Judd Irrevocable Trust; PAJ

15   Consulting Inc.; BJ Holdings LLC; Stirling Consulting, L.L.C.; CJ Investments, LLC; JL2

16   Investments, LLC; Rocking Horse Properties, LLC; Triple Threat Basketball, LLC; ACAC LLC;

17   Anthony M. Alberto, Jr.; and Monty Crew LLC (together herein, “Relief Defendants”) may

18   dissipate, conceal or transfer from the jurisdiction of this Court assets that could be subject to an

19   order of disgorgement or an order to pay a civil monetary penalty in this action; and (iv) entry of

20   a preliminary injunction, asset freeze, and order for other equitable relief as set forth below is

21   necessary and appropriate.

22                                                     I.

23          IT IS HEREBY ORDERED that Defendants and their officers, agents, servants,

24   employees, attorneys, subsidiaries and affiliates, and those persons in active concert or

25   participation with any of them, who receive actual notice of this Order, by personal service or

26   otherwise, and each of them, be and hereby are preliminarily enjoined from, directly or

27   indirectly, in the offer or sale of any securities, by the use of any means or instruments of

28   transportation or communication in interstate commerce or by use of the mails:




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 1          A.      employing any device, scheme or artifice to defraud;
 2          B.      obtaining money or property by means of any untrue statement of a material fact
 3                  or any omission of a material fact necessary in order to make the statements
 4                  made, in light of the circumstances under which they were made, not misleading;
 5                  or
 6          C.      engaging in any transaction, practice, or course of business which operates or
 7                  would operate as a fraud or deceit upon the purchaser
 8   in violation of Section 17(a) of the Securities Act [15 U.S.C. § 77q(a)].
 9          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
10   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
11   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
12   and attorneys; and (b) other persons in active concert or participation with Defendants or with
13   anyone described in (a).
14                                                    II.

15          IT IS HEREBY FURTHER ORDERED that Defendants and their officers, agents,

16   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or

17   participation with any of them, who receive actual notice of this Order, by personal service or

18   otherwise, and each of them, be and hereby are preliminarily enjoined from, directly or

19   indirectly, in connection with the purchase or sale of any security, by use of any means or

20   instrumentality of interstate commerce, or of the mails, or of any facility of any national

21   securities exchange:

22          A.      employing any device, scheme or artifice to defraud

23          B.      making any untrue statement of a material fact or omitting to state a material fact

24                  necessary in order to make the statements made, in the light of the circumstances

25                  under which they were made, not misleading; or

26          C.      engaging in any act, practice, or course of business which operates or would

27                  operate as a fraud or deceit on upon any person

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 1   in violation of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)], and Rule 10b-5
 2   thereunder [17 C.F.R. § 240.10b-5].
 3          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
 4   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
 5   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
 6   and attorneys; and (b) other persons in active concert or participation with Defendants or with
 7   anyone described in (a).
 8                                                    III.
 9          IT IS HEREBY FURTHER ORDERED that Defendants and their officers, agents,
10   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
11   participation with any of them, who receive actual notice of this Order, by personal service or
12   otherwise, and each of them, be and hereby are preliminarily enjoined from, directly or
13   indirectly, in the absence of any applicable exemption:
14          A.      unless a registration statement is in effect as to a security, making use of any

15                  means or instruments of transportation or communication in interstate commerce

16                  or of the mails to sell such security through the use or medium of any prospectus

17                  or otherwise;

18          B.      unless a registration statement is in effect as to a security, carrying or causing to

19                  be carried through the mails or in interstate commerce, by any means or

20                  instruments of transportation, any such security for the purpose of sale or for

21                  delivery after sale; or;

22          C.      making use of any means or instruments of transportation or communication in

23                  interstate commerce or of the mails to offer to sell or offer to buy through the use

24                  or medium of any prospectus or otherwise any security, unless a registration

25                  statement has been filed with the Commission as to such security, or while the

26                  registration statement is the subject of a refusal order or stop order or (prior to the

27                  effective date of the registration statement) any public proceeding or examination

28                  under Section 8 of the Securities Act [15 U.S.C. § 77h].




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 1   in violation of Section 5 of the Securities Act [15 U.S.C. § 77e].
 2          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
 3   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
 4   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
 5   and attorneys; and (b) other persons in active concert or participation with Defendants or with
 6   anyone described in (a).
 7                                                    IV.
 8          IT IS HEREBY FURTHER ORDERED that Defendants and their officers, agents,
 9   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
10   participation with any of them, who receive actual notice of this Order, by personal service or
11   otherwise, and each of them, be and hereby are preliminarily enjoined from, directly or
12   indirectly, using any means or instrumentality of interstate commerce, or of the mails, or of any
13   facility of any national securities exchange, to effect transactions in, or induce or attempt to
14   induce the purchase or sale of, securities while not registered with the Commission as a broker or

15   dealer or while not associated with an entity registered with the Commission as a broker or

16   dealer in violation of Section 15(a)(1) of the Exchange Act [15 U.S.C. § 78o(a)(1)].

17          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

18   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

19   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,

20   and attorneys; and (b) other persons in active concert or participation with Defendants or with

21   anyone described in (a).

22                                                     V.

23          IT IS HEREBY FURTHER ORDERED that Defendants and their officers, agents,

24   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or

25   participation with any of them, who receive actual notice of this Order, by personal service or

26   otherwise, and each of them, be and hereby are preliminarily enjoined from, directly or

27   indirectly, issuing, purchasing, or selling any security related to settled litigation claims, except

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 1   for the purchase or sale of securities listed on a national securities exchange by these Defendants
 2   for their own personal accounts.
 3          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
 4   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this
 5   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,
 6   and attorneys; and (b) other persons in active concert or participation with Defendants or with
 7   anyone described in (a).
 8                                                    VI.
 9          IT IS HEREBY FURTHER ORDERED that Defendants and their officers, agents,
10   servants, employees, attorneys, subsidiaries and affiliates, and those persons in active concert or
11   participation with any of them, who receive actual notice of this Order, by personal service or
12   otherwise, and each of them, be and hereby are preliminarily enjoined from, directly or
13   indirectly, soliciting any person or entity to purchase or sell any security.
14          IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

15   65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

16   Order by personal service or otherwise: (a) Defendants’ officers, agents, servants, employees,

17   and attorneys; and (b) other persons in active concert or participation with Defendants or with

18   anyone described in (a)

19                                                    VII.

20          IT IS HEREBY FURTHER ORDERED that, pending further order of this Court, the

21   asset freeze imposed by paragraphs VIII and IX of the Court’s Temporary Restraining Order and

22   Orders (1) Freezing Assets; (2) Requiring Accountings; (3) Prohibiting the Destruction of

23   Documents; and (4) Granting Expedited Discovery; and (5) Order to Show Cause re Preliminary

24   Injunction entered by the Court on April 13, 2022 (the “Temporary Restraining Order”) shall

25   continue in full force and effect, and all such funds and other assets shall remain frozen. As

26   provided in the Temporary Restraining Order, any allowance for necessary and reasonable living

27   expenses will be granted only upon good cause shown by application to the Court with notice to

28   and an opportunity for the Commission to be heard.




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 1                                                  VIII.
 2           IT IS HEREBY FURTHER ORDERED that pending further order of this Court, the
 3   order barring the destruction of documents imposed by paragraph XII of the Temporary
 4   Restraining Order shall continue in full force and effect.
 5                                                   IX.
 6           IT IS HEREBY FURTHER ORDERED that this Order Entering Preliminary Injunction,
 7   Asset Freeze, and Other Equitable Relief shall remain in effect until entry of a Final Judgment in,
 8   or other final disposition of, this action.
 9

10           IT IS SO ORDERED.
11
                   April 21, 2022
12           Date: ________________
                    1:15 p.m.
             Time: ________________
13

14

15

16                                                          ______________________________
                                                            JAMES C. MAHAN
17
                                                            UNITED STATES DISTRICT JUDGE
18

19

20   Presented by:
     Tracy S. Combs
21
     Casey R. Fronk
22   Attorneys for Plaintiff
     Securities and Exchange Commission
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